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AUSA: Jorja N. Knauer

~

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA IDENTITY AFFIDAVIT
v. 25 Mag. g 4 4
MARK SIMON,
Defendant.

SOUTHERN DISTRICT OF NEW YORK, ss.:

KEITH PELLERIN, being duly sworn, deposes and says that he is a Special Agent with
the Federal Bureau of Investigation (“FBI”), and charges as follows:

On or about February 28, 2025, the United States District Court for the Southern District
of Florida issued a warrant for the arrest of “Mark Simon” (the “Warrant”) based on an indictment
charging conspiracy to launder monetary instruments, in violation of 18 U.S.C. § 1956(h) (the
“Indictment”). Copies of the Warrant and Indictment are attached as Exhibit A and Exhibit B,
respectively, and are incorporated by reference herein.

On or about March 12, 2025, I participated in the arrest of MARK SIMON, the defendant,
in the Southern District of New York. I believe that MARK SIMON is the same person as the
“Mark Simon” who is wanted by the United States District Court for the Southern District of
Florida.

The bases for my knowledge and the foregoing charge are, in part, as follows:

1. I am a Special Agent with FBI. I have been personally involved in determining
whether MARK SIMON, the defendant, is the same individual as the “Mark Simon” named in the
Warrant. Because this Affidavit is being submitted for the limited purpose of establishing the
identity of the defendant, I have not included in this Affidavit each and every fact that I have
learned. Where the contents of documents or records and the actions, statements, and
conversations of others are reported herein, they are reported in substance and in part, except where
otherwise indicated.

2. Based on my review of documents from the United States District Court for the
Southern District of Florida, I know that on or about February 28, 2025, the United States District
Court for the Southern District of Florida issued the Warrant based on the Indictment.

3. On or about March 12, 2025, at approximately 6:00 AM, other law enforcement
agents and I arrested MARK SIMON, the defendant, at a residential building in Putnam Valley,
New York (the “Residential Address”).
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4, Based on my participation in this arrest, my conversations with other law
enforcement officers, and my review of law enforcement records, I believe that MARK SIMON,
the defendant, is the same person as the “Mark Simon” wanted in the Southern District of Florida
based on the following:

a. At approximately 6:00 AM, a law enforcement agent (“Agent-1”) called a
phone number, which I know from my review of law enforcement databases and from my
participation in this investigation is used by the “Mark Simon” wanted in the Southern
District of Florida. MARK SIMON, the defendant, answered the call from inside the
Residential Address and identified himself as “Mark Simon.” At Agent-1’s direction,
SIMON came to the front door of the Residential Address, where he was subsequently
placed under arrest. SIMON confirmed his identity and provided to law enforcement his
address, date of birth, and Social Security number, all of which match the address, date of
birth, and Social Security number that are identified on law enforcement databases and
records as associated with the “Mark Simon” who is wanted in the Southern District of
Florida.

b. Shortly thereafter, a person who identified herself as the spouse of MARK
SIMON, the defendant, provided a United States passport for “Mark Simon.” I believe the
person depicted in the passport photograph is MARK SIMON, the defendant, whom I
arrested at the Residential Address.

5. Accordingly, I believe that the “Mark Simon” sought in the Warrant is MARK
SIMON, the defendant.

WHEREFORE, I respectfully request that MARK SIMON, the defendant, be imprisoned
or bailed, as the case may be.

f= j
KEITH PELLERIN
Special Agent

Federal Bureau of Investigation

Sworn to before me this 12th day of March, 2025.

Cabs Bim —

THE HONORABLE ANDREW E. KRAUSE
United States Magistrate Judge
Southern District of New York

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Exhibit A
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AQ 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

Southern District of Florida

United States of America

v. )
MARK SIMON ) Case No, 25-CR-20081-ALTONAGAVREID
)
FILED BY__BM__eop.c,
)
Defendant
Feb 28, 2025
CLERK U.S. DIST. CF
To: Any authorized law enforcement officer BOB OF FLA, = MIAMI

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
fname of person to be arrested) Mark Simon ;

who is accused of an offense or violation based on the following document filed with the court:

@ Indictment (1 Superseding Indictment Information © Superseding Information © Complaint
(1 Probation Violation Petition C Supervised Release Violation Petition (Violation Notice ( Order of the Court

This offense is briefly described as follows:

Conspiracy to Launder Monetary Instruments in violation of 18 U.S.C. § 1956(h)

Certified to be a true and
correct copy of the document on file
Angela E, Noble, Clerk,

US. District Court
Southern District of Florida

By BryanMartinez

Date F eb 2 8 B05 iB

Date: 02/28/2025
(ishing officer’s signature
City and state: Miami, Florida Angela E. Noble, Clerk of Court / Court Adrninistrator
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (dare)

at (citv and state)

Date:

Arresting officer's signature
iE £

Printed name and title

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Exhibit B

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

25-CR-20081-ALTONAGA/REID
CASE NO.

18 U.S.C. § 1956(h)
18 U.S.C. § 982(a)(1)

UNITED STATES OF AMERICA

FILEO BY__BM__p.c,

v.
MARK SIMON, | Feb 25, 2025
ANGELA E, HOBLE
Defendant. CLERK Us. ‘OSE cr
/ 5.60. GF FLA: - MIAMI
INDICTMENT

The Grand Jury charges:

GENERAL ALLEGATIONS

At all times relevant to this Indictment, unless otherwise specified:

1. MARK SIMON was a resident of the state of New York and owned/operated a
jewelry store in the state of New York.

2. The co-conspirators were members of a South American Theft Group (““SATG”)
that was engaged in, among other things, acts of robbery, theft, and burglary, and which operated
in the states of Florida, Georgia, California, and elsewhere. The co-conspirators targeted traveling
jewelry salespersons and jewelry stores, stealing assorted jewelry, cash, and other goods. The
members of the SATG were primarily Colombian nationals or of Colombian descent.

COUNT 1
Conspiracy to Launder Monetary Instruments
(18 U.S.C. § 1956(h))

1. Paragraphs | through 2 of the General Allegations Section are re-alleged and

incorporated by reference as though fully set forth herein.

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2. From in or around September 2019, through on or about August 4, 2021, in the

Southern District of Florida, and elsewhere, the defendant,

MARK SIMON,

did knowingly and voluntarily combine, conspire, confederate, and agree with persons known and
unknown to the Grand Jury to commit an offense against the United States in violation of Title 18,
United States Code, Section 1956, to wit: to knowingly conduct, and attempt to conduct, a financial
transaction which involved the proceeds of specified unlawful activity, knowing that the property
involved in the financial transaction represented the proceeds of some form of unlawful activity,
and knowing that the transaction was designed in whole and in part, to conceal and disguise the
nature, the location, the source, the ownership, and control of the proceeds of said specified
unlawful activity, in violation of Title18, United States Code, Section 1956(a)(1)(B)().

It is further alleged that the specified unlawful activity is Hobbs Act Robbery, in violation
of Title 18, United States Code, Section 1951; Interstate Travel or Transportation in Aid of
Racketeering, in violation of Title 18, United States Code, Section 1952; Transportation of Stolen
Goods, in violation of Title 18, United States Code, Section 2314; and Sale or Receipt of Stolen
Goods, in violation of Title 18, United States Code, Section 2315.

‘PURPOSE OF THE CONSPIRACY

3. It was the purpose of the conspiracy for MARK SIMON and his co-conspirators
to enrich themselves by laundering the proceeds obtained through the SATG robberies, thefts, and
burglaries of jewelry, cash, and other goods. After stealing the jewelry, members of the SATG
would sell the stolen jewelry to MARK SIMON, who would purchase the stolen jewelry below

market value, and, in exchange for the stolen jewelry, would pay cash to the members of the SATG.
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MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which MARK SIMON and other conspirators known and unknown
to the grand jury sought to accomplish the purpose of the conspiracy included, among others, the
following:

4, Members of the SATG robbed jewelry salespersons and burglarized vehicles and
jewelry stores — stealing jewelry, cash, and other goods.

5. Conspirators traveled and/or induced others to travel and/or transport the stolen
jewelry, cash, and other goods across state lines. The conspirators conducted business in interstate
and foreign commerce and the conspiracy affected interstate and foreign commerce as
contemplated by Title 18, United States Code, Sections 2314 and 2315.

6. Members of the SATG sold the stolen jewelry to “fences,” who are individuals who
purchase illegally obtained goods, and using various money laundering methods, converted those
goods into cash proceeds,

7. MARK SIMON, a fence, would travel to the Southern District of Florida and
elsewhere to view and purchase the stolen jewelry from the SATG. As part of these transactions,
MARK SIMON would meet members of the SATG ina hotel room that was often rented by a co-
conspirator using fraudulent identification to conceal the identity of the co-conspirators and
location of the co-conspirators and/or jewelry.

8. After purchasing the stolen jewelry, MARK SIMON would return to New York
with the stolen jewelry. Sometime after returning to New York, MARK SIMON would mail
packages containing United States currency from New York to Florida to the members of the

SATG as payment for the stolen jewelry. MARK SIMON would mail the packages containing
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the United States currency to a business using a fake or fraudulent name as the recipient to conceal
the identity of the co-conspirators and the nature of the transactions.

9. MARK SIMON would take additional steps to conceal the transactions, including
melting the gold jewelry and selling it to a refiner.

All in violation of Title 18, United States Code, Section 1956(h).

OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

In furtherance of the conspiracy, and to affect the object and purposes thereof, MARK
SIMON, the defendant, and others known and unknown to the Grand Jury, committed various
overt acts, including, but not limited to, the following:

l. On or about September 19, 2019, members of the SATG committed a vehicular
burglary in Boca Raton, Florida, stealing assorted jewelry valued at approximately $732,000.

2. Approximately a few days after the Boca Raton vehicular burglary, MARK
SIMON traveled to the Miami, Florida area to purchase the stolen jewelry.

3. The members of the SATG who participated in the Boca Raton vehicular burglary
sold the stolen jewelry to MARK SIMON, who returned to New York with the stolen jewelry.

4, A short time after returning to New York, MARK SIMON mailed approximately
$80,000 to $100,000 to the members of the SATG who participated in the Boca Raton vehicular
burglary, which was split evenly among the burglary participants.

5. On or about November 7, 2019, members of the SATG robbed a jewelry salesman
of assorted jewelry in Miami Beach, Florida, valued at approximately $125,000.

6. On or about November 9, 2019, MARK SIMON flew from New York to Fort

Lauderdale, Florida, to purchase the stolen jewelry.

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7. MARK SIMON met with the members of the SATG who participated in the Miami
Beach robbery at a hotel in the Miami, Florida area and purchased the stolen jewelry for
approximately $25,000 to $35,000, which was split evenly among the robbery participants.

8. On or about January 23, 2020, members of the SATG robbed a traveling jewelry
salesman of assorted jewelry in Fort Pierce, Florida, valued at approximately $150,000.

9. On or about January 26, 2020, MARK SIMON flew from New York to Fort
Lauderdale, Florida, to purchase the stolen jewelry.

10. On or about January 26, 2020, MARIS SIMON rented a vehicle from Fort
Lauderdale/Dania Beach, Florida.

11. On or about January 26, 2020, MARK SIMON shared multiple telephone calls
with a member of the SATG who participated in the Fort Pierce robbery.

12. On or about January 26, 2020, MARK SIMON met with members of the SATG
who participated in the Fort Pierce robbery and agreed to purchase the stolen jewelry for
approximately $30,000 to $40,000 as payment for the stolen jewelry, which was split evenly
among the robbery participants.

13. On or about February 6, 2020, members of the SATG robbed a traveling jewelry
salesman’s assistant of assorted jewelry in Boynton Beach, Florida, valued at approximately
$2,600,000.

14. Between on or about February 20, 2020, to on or about February 22, 2020, a
member of the SATG who participated in the Boynton Beach robbery placed multiple calls to
MARK SIMON.

15. On or about February 22, 2020, MARK SIMON flew from New York to Fort

Lauderdale.

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16. On or about February 22, 2020, MARK SYMON rented a vehicle from Fort
Lauderdale/Dania Beach, Florida.

17. On or about February 22, 2020, MARK SIMON rented a hotel room in Miami
Lakes, Florida.

18. On or about February 22, 2020, MARK SIMON met with members of the SATG
who participated in the Boynton Beach robbery and agreed to purchase a portion of the stolen
jewelry.

19. Sometime after meeting with members of the SATG, MARK SIMON mailed
money to members of the SATG who participated in the Boynton Beach robbery.

20. One member of the SATG traveled to New York and met MARK SIMON to
receive his/her portion of the money and a co-conspirator’s portion.

21. On or about March 6, 2020, members of the SATG burglarized a jewelry store in
Dalton, Georgia, stealing assorted jewelry valued at approximately $1,000,000.

22. ° Between on or about March 4, 2020, and on or about March 8, 2020, MARK
SIMON and a member of the SATG who participated in the Dalton, Georgia burglary shared
multiple phone calls.

23. ' Onor about March 8, 2020, MARK SIMON flew from New Jersey to Georgia to
purchase the stolen jewelry.

24, On or about March 8, 2020, after meeting with MARK SIMON, the members of
the SATG who participated in the Dalton, Georgia burglary decided not to sell the jewelry to

MARK SIMON.

25. On or about December 28, 2020, MARK SIMON paid a member of the SATG

$16,000 for stolen jewelry using a check payable to the SATG member’s business.

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26. On or about July 17, 2021, MARK SIMON sent a message inquiring about stolen
jewelry to a member of the SATG using a phone application.

27. Onor about July 20, 2021, MARK SIMON sent a message inquiring about stolen
jewelry to a member of the SATG using a phone application.

FORFEITURE
(18 S.C. § 982(a)(1))

1, The allegations of this Indictment are re-alleged and by this reference fully
incorporated herein for the purpose of alleging forfeiture to the United States of America of certain
property in which the defendant, MARK SIMON, has an interest.

2. Upon conviction of a violation of Title 18, United States Code, Section 1956, as
alleged in this Indictment, each defendant shall forfeit to the United States any property, real or
personal, which constitutes or is derived from proceeds traceable to such violation pursuant to Title
18, United States Code, Section 982(a)(1).

3, If any of the property subject to forfeiture, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property that cannot be divided without difficulty;
the United States shall be entitled to forfeiture of substitute property, under the provisions of Title
21, United States Code, Section 853(p).

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All pursuant to Title 18, United States Code, Section 982(a)(1), and the procedures set forth

at Title 21, United States Code, Section 853, all made applicable by Title 18, United States Code,

Section 982(b)(1).

Ne, :

HAYDEN P. 0 BYRNE
UNITED STATES ATTORNEY

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BRIAN DOBBINS
ASSISTANT UNITED STATES ATTORNEY

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LAKEITA F. ROX-LOVE
TRIAL ATTORNEY

Gg. YQ Be

CHRISTOPHER D. USHER II
TRIAL ATTORNEY

